                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                      CRIMINAL DOCKET NO. 5:10CR2-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                       ORDER
                                 )
JIMMY EARL HILTON (2)            )
                                 )
                Defendant.       )
________________________________)


       THIS MATTER is before the Court on its own Motion to appoint counsel for the

resentencing in the above captioned matter, currently scheduled for March 4, 2013, in

the United States Courthouse , 200 West Broad Street, 2nd floor Courtroom, Statesville,

North Carolina.

       On March 7, 2011, the Defendant in this matter was found guilty on forty-four

Counts of Conspiracy to Defraud the United States, pursuant to U.S.C. 18 § 371,

Uttering Forged and Counterfeit Securities, Aiding and Abetting, pursuant to U.S.C 18

§§ 513(a) & 2, Fraud with Identification Documents, pursuant to 18 U.S.C. 18 §

1028(a)(7) & (b)(1)(d), Mail Fraud Affecting a Federally Insured Financial Institution,

pursuant to18 U.S.C § 1341, Theft or Receipt of Stolen Mail Matter, pursuant to 18

U.S.C. § 1708, Money Laundering by, through and to Financial Institutions, Affecting

Interstate & Foreign Commerce, pursuant to § 18 U.S.C. § 1956(h), and Money

Laundering with Intent to Conceal & Disguise the Proceeds of Specified Unlawful

Activities, pursuant to 18 U.S.C. § 1956(a)(1)(B)(ii).

       On March 7, 2011, Mr. Hilton was sentenced to 120 months, three years of




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Supervised Release, and Restitution of $655, 876.04 to be paid jointly and severally

between the Defendant and Co-Defendants. Moreover, on March 8, 2011, Mr. Hilton,

filed a Notice of Appeal. Steven Slawinski, from the Federal Defenders Office, was

defense counsel for Mr. Hilton through the sentencing phase of this case. However, Mr.

Slawinski left the Federal Defenders Office, and Mr. Rudolph Alexander Ashton, III was

appointed to represent Mr. Hilton on his appeal. Consequently, on December 14, 2012

the Fourth Circuit Court of Appeals rendered their decision in Mr. Hilton’s appeal,

affirming in part, vacated in part, and remanded to the district court for resentencing.

       Mr. Ashton has indicated that he would represent Mr. Hilton for his resentencing.

However, Mr. Ashton has not been admitted to the Western District of North Carolina.

Upon consideration in this matter, and that Mr. Ashton is familiar with Mr. Hilton’s case,

the Court will waive Mr. Ashton’s admission to the Western District of North Carolina for

the purpose of the resentencing of Mr. Hilton.

       IT IS, THEREFORE, ORDERED THAT:

       1) Mr. Rudolph Alexander Ashton, III, McCotter, Ashton & Smith, PA, P. O. Box

          12800, New Bern, N. C. 28561-2800, (252) 635-1005, be appointed as

          defense counsel for purpose of resentencing in this matter.

       2) That the Federal Defender’s Office shall prepare a CJA 20 voucher for Mr.

          Ashton’s representation in this case as defense counsel.

       3) A copy of this Order shall be sent to the Defendant, Defense Counsel, United

          States Attorney, United States Marshal Service, United States Probation

          Office.




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                                      Signed: February 6, 2013




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